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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                           IN THE UNITED STATES DISTRICT COURT                          December 12, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

 HSL FILLY SHIPPING LIMITED; and,                 §
 FLEET MANAGEMENT LIMITED                         §
                                                  §            C.A. No. 4:22-CV-00066
 v.                                               §          Admiralty - FED. R. CIV. P. 9(h)
                                                  §
 VOPAK TERMINAL—DEER PARK, INC.                   §

                               AGREED ORDER OF DISMISSAL

        On this day came on to be heard the above entitled and numbered cause in which Plaintiffs,

HSL Filly Shipping Limited and Fleet Management Limited, and Defendant, Vopak Terminal—

Deer Park, Inc., appearing by and through their respective counsel and announced to this Court

that all of the claims, counter-claims, third-party claims, demands and issues which have or might

have been asserted by, against, and between Plaintiffs and Defendant in the pleadings filed in this

lawsuit have been fully compromised and settled. The Parties, for valuable consideration received,

have executed and delivered a Settlement and Release Agreement in full settlement of all claims

which have or could have been made by and between each other for the incident made the basis of

this lawsuit. Now, on the Parties’ request that Plaintiffs’ causes of action against Defendant, and

that Defendant’s causes of action against Plaintiffs, be dismissed with prejudice, it is accordingly:

        ORDERED that Plaintiffs, HSL Filly Shipping Limited and Fleet Management Limited,

take nothing by this suit against Defendant, Vopak Terminal—Deer Park, Inc. and that the

Plaintiffs’ suit is dismissed with prejudice as to the Defendant with each party to bear its own

taxable costs of Court. It is further,

        ORDERED that Defendant, Vopak Terminal—Deer Park, Inc., take nothing by this suit

against Plaintiffs, HSL Filly Shipping Limited and Fleet Management Limited, and that
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Defendant’s claims are dismissed with prejudice as to the Plaintiffs with each party to bear its own

taxable costs of Court.

       DONE AND ENTERED in Houston, Texas, this _____
                                                12th day of December, 2023.




                                              HON. DENA HANOVICE PALERMO
                                              UNITED STATES MAGISTRATE JUDGE


APPROVED AND ENTRY REQUESTED


/s/ James T. Bailey
Robert L. Klawetter
Federal I.D. No. 2471
State Bar No. 11554700
rklawetter@sbsb-eastham.com
James T. Bailey
Federal I.D. No. 30347
State Bar No. 24031711
jbailey@sbsb-eastham.com
Dylan S. Hoke
Federal I.D. No. 38220027
State Bar No. 24126961
dhoke@sbsb-eastham.com
1001 McKinney Street, Suite 1400
Houston, Texas 77002
Telephone: (713) 225-0905
Facsimile: (713) 574-2942
Attorneys for Plaintiffs, HSL Filly Shipping Limited
and Fleet Management Limited


OF COUNSEL:

SCHOUEST, BAMDAS, SOSHEA, BENMAIER & EASTHAM PLLC
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APPROVED AND ENTRY REQUESTED


/s/ Alejandro Mendez-Roman_*
Alejandro Mendez-Roman
Texas Bar No. 24102778
Fed Bar No. 2295449
amendez@norkmendez.com
2002 Timberloch Place, Suite 200
The Woodland, TX 77380
Telephone: (281) 210-1336
Attorney for Vopak Terminal—Deer Park, Inc.

OF COUNSEL:

NORK*MENDEZ PLLC

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